           Case 1:25-cv-00716-BAH           Document 59-1        Filed 04/04/25       Page 1 of 3


                          UNITED STATES DISTRICT COURT
                                         DISTRICT OF COLUMBIA

Perkins Coie LLP
                                                      )
                     Plaintiff(s)                     )
                                                      )
vs.                                                   )       Case Number:     1:25-cv-00716-BAH
U.S. Department of Justice et al.                     )
                                                      )
                    Defendant(s)

                            '(&/$5$7,21 FOR PRO HAC VICE $'0,66,21
                            (to be attached to Motion for3UR+DF9LFH$GPLVVLRQ)

       IQDFFRUGDQFHZLWK/&Y5 F  DQG/&Y5 F  ,KHUHE\GHFODUHthat
the answers to the following questions are complete, true, and correct:
 Full Name: Donald Manwell Falk
 State bar membership number: 150256
 Business address, telephone and fax numbers:
      Schaerr Jaffe LLP, Four Embarcadero Center, Suite 1400, San Francisco CA 94111, 415
 List all state and federal courts or bar associations in which you are a member “in good standing”
      to practice law:
      See attached.
 Have you been denied admission, disbarred, suspended from practice, reprimanded, denied “in
      good standing” status, or otherwise disciplined by any court, bar association, grievance committee
      or administrative body? Yes             No ✔

 Have any proceedings which could lead to any such disciplinary action been instituted against you
      in any such bodies?      Yes     __ _No ✔
      (Please attach a statement explaining any “Yes” answers to questions 5 or 6.)

 List the number of times the attorney has been admitted pro hac vice into this court within the last
      two years. None
      (If your principal office is located in the District of Columbia, please answer questions 8 and 9.)

 Are you a member of the DC Bar? Yes

 Do you have a pending application for admission into USDC for the District of Columbia? No
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